                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

  IN THE MATTER OF                                )
                                                  )
                  DARRYL SWINDLE,                 )   Chapter 13
                                                  )
                           Debtor,                )   Case No. 17-18575
                                                  )
  v.                                              )
                                                  )
  EBONY LUCAS                                     )

                                     NOTICE OF APPEAL


       Ebony Lucas appeals under 28 U.S.C. § 158(a) from the Order on Ms. Ebony Lucas’

Motion for Reconsideration (dkt. No. 57) entered on the 29th day of March 2018, and the court’s

order entered February 7, 2018 (dkt. No. 48) entered in the above captioned adversary proceeding

by United States Bankruptcy Judge Jacqueline P. Cox and attached hereto as Exhibit A.

       The names of all parties to the order appealed from and their attorneys are as follows:

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                                                      RESPECTFULLY SUBMITTED,


                                                      By: ________________________
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